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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


  JASON MCCALL,
                                                      Civil Action No.
                      Plaintiff,
                                                      COMPLAINT FOR VIOLATIONS
       v.                                             OF THE FEDERAL SECURITIES
                                                      LAWS


                                                      JURY TRIAL DEMANDED
   OBALON THERAPEUTICS, INC.,
   ANDREW RASDAL, KIM KAMDAR,
   RAYMOND DITTAMORE, DOUGLAS
   FISHER, LES HOWE, SHARON
   STEVENSON, and WILLIAM
   PLOVANIC,


                      Defendants.



       Plaintiff Jason McCall (“Plaintiff”) by and through his undersigned attorneys, brings this

action on behalf of himself, and alleges the following based upon personal knowledge as to those

allegations concerning Plaintiff and, as to all other matters, upon the investigation of counsel,

which includes, without limitation: (a) review and analysis of public filings made by Obalon

Therapeutics, Inc. (“Obalon” or the “Company”) and other related parties and non-parties with

the United States Securities and Exchange Commission (“SEC”); (b) review and analysis of

press releases and other publications disseminated by certain of the Defendants (defined below)

and other related non-parties; (c) review of news articles, shareholder communications, and

postings on the Company’s website concerning the Company’s public statements; and (d) review

of other publicly available information concerning Obalon and the Defendants.
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                                 SUMMARY OF THE ACTION

        1.      This is an action brought by Plaintiff against Obalon and the Company’s Board of

Directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a) and

20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9,

17 C.F.R. 240.14a-9, in connection with the proposed sale of the Company to ReShape

Lifesciences Inc. (“ReShape”) (the “Proposed Transaction”).

        2.      On January 19, 2021, the Company entered into an Agreement and Plan of

Merger (the “Merger Agreement”) with ReShape.              Pursuant to the terms of the Merger

Agreement each share of ReShape will be converted into the right to receive a currently

undetermined number of Obalon shares (“Merger Consideration”). The special meeting of

Obalon’s shareholders to vote on the Proposed Transaction is scheduled to be held on May 13,

2021.

        3.      On April 13, 2021, in order to convince the Company’s shareholders to vote in

favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete and

misleading proxy with the SEC (the “Proxy Statement”), in violation of Sections 14(a) and 20(a)

of the Exchange Act.

        4.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Obalon and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule

14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to Obalon

shareholders before the vote on the Proposed Transaction or, in the event the Proposed

Transaction is consummated, recover damages resulting from the Defendants’ violations of the

Exchange Act.




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                                 JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        6.      This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

        7.      Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                          THE PARTIES

        8.      Plaintiff is, and has been at all times relevant hereto, the owner of Obalon shares.

        9.      Defendant Obalon is incorporated under the laws of Delaware and has its

principal executive offices located at 5421 Avenida Encinas, Suite F, San Diego, CA, 92008.

The Company’s common stock trades on the NASDAQ under the symbol “OBLN.”

        10.     Defendant Andrew Rasdal (“Rasdal”) is and has been a director of Obalon, Chief

Executive Officer (“CEO”), and Chair of the Board at all times during the relevant time period.

        11.     Defendant Kim Kamdar (“Kamdar”) is and has been a director of Obalon at all

times during the relevant time period.

        12.     Defendant Raymond Dittamore (“Dittamore”) is and has been a director of

Obalon at all times during the relevant time period.




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       13.     Defendant Douglas Fisher (“Fisher”) is and has been a director of Obalon at all

times during the relevant time period.

       14.     Defendant Les Howe (“Howe”) is and has been a director of Obalon at all times

during the relevant time period.

       15.     Defendant Sharon Stevenson (“Stevenson”) is and has been a director of Obalon

at all times during the relevant time period.

       16.     Defendant William Plovanic (“Plovanic”) is and has been a director of Obalon at

all times during the relevant time period. Individual Defendant Plavanic resigned from his

position as President and CEO of Obalon in June of 2020. He is also an equity research analyst at

Canaccord.

       17.     Defendants Rasdal, Kamdar, Dittamore, Fisher, Howe, Stevenson, and Plovanic

are collectively referred to herein as the “Individual Defendants.”

       18.     The Individual Defendants, along with Defendant Obalon, are collectively

referred to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                   Background of the Company

       19.     Obalon is a vertically integrated medical device company focused on

developing and commercializing innovative medical devices to treat people with obesity.

Obalon’s current product offering is the Obalon Balloon System, the first and only FDA

approved swallowable, gas-filled intragastric balloon designed to provide progressive and

sustained weight loss in patients with obesity. The Obalon Balloon System is FDA approved

for temporary use to facilitate weight loss in adults with obesity having a body mass index,




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or BMI, of 30 to 40, or approximately 30 to 100 pounds overweight, who have failed to lose

weight through diet and exercise.

                    The Company Announces the Proposed Transaction

       20.    On January 20, 2020, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:


       SAN CLEMENTE, CA / ACCESSWIRE / January 20, 2021 / ReShape
       Lifesciences Inc. (OTCQB:RSLS), a global weight-loss solutions leader,
       announced today that it has entered into a definitive merger agreement with
       Obalon Therapeutics, Inc., which is listed on the NASDAQ Capital Market, a
       company focused on developing and commercializing novel technologies for
       weight loss, under which ReShape and Obalon will combine in an all-stock
       transaction.

       Under the terms of the merger agreement that has been unanimously approved by
       the boards of directors of both companies, existing ReShape stockholders will
       have majority ownership of the combined company immediately following the
       closing of the merger and Obalon will be renamed ReShape Lifesciences Inc. and
       will trade under the NASDAQ ticker symbol "RSLS." The current directors and
       officers of ReShape will comprise the board of directors and executive
       management of the combined company.

       ReShape and Obalon have delivered some of the most innovative FDA-approved
       weight loss solutions for the treatment of obesity. According to a recent article in
       the New England Journal of Medicine, the past 50 years have seen increasing
       attention to the issue of obesity[1], citing the World Health Organization's current
       data showing that global prevalence of obesity has tripled since the mid-1970s
       with more than 1 billion adults being overweight in addition to 650 million adults
       and 124 million children and adolescents being obese. This has tremendous
       impact on health and health related costs globally as obesity is responsible for
       41% of uterine cancers; more than 10% of gallbladder, kidney, liver, and colon
       cancers; 40% of cases of cardiovascular disease; and most cases of type 2
       diabetes.2 Further relevant in today's world, SARS-CoV-2 infection (COVID-19)
       is more likely to cause serious illness or death in people with obesity than in those
       with a healthier body-mass index.3

       Bart Bandy, President and Chief Executive Officer of ReShape commented, "We
       are excited with this opportunity to add Obalon's FDA approved Balloon System
       to ReShape's line of minimally invasive weight-loss solutions while also
       expanding our market reach. Our portfolio also includes the Lap-Band®,
       emerging products that support bariatric surgical procedures across the spectrum



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       and ReShapeCareTM, which is our reimbursed, telehealth-based patient support
       program that is available for any medically supervised weight loss program. This
       integration positions us to achieve our goals for growth and continued
       advancement towards becoming the premier weight loss company for physicians
       and patients."

                                        *       *      *

       Maxim Group LLC is serving as financial advisor to ReShape in connection with
       the transaction and Fox Rothschild LLP is acting as its legal counsel.

                     FALSE AND MISLEADING STATEMENTS
             AND/OR MATERIAL OMISSIONS IN THE PROXY STATEMENT

       21.     On April 13, 2021, the Company authorized the filing of the Proxy Statement

with the SEC. The Proxy Statement recommends that the Company’s shareholders vote in favor

of the Proposed Transaction.

       22.     Defendants were obligated to carefully review the Proxy Statement prior to its

filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions.          However, the Proxy Statement

misrepresents and/or omits material information that is necessary for the Company’s

shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                 Material False and Misleading Statements or Material
     Misrepresentations or Omissions Regarding the Company’s Financial Projections

       23.     The Proxy Statement contains projections prepared by the Company’s

management concerning the Proposed Transaction, but fails to provide material information

concerning such.

       24.     The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such




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projections. 1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new

and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP

financial measures that demonstrate the SEC’s tightening policy. 2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       25.     In order to make management’s projections included in the Proxy Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the

non-GAAP measures to the most comparable GAAP measures.

       26.     Specifically, concerning the “Obalon Adjusted ReShape Projections,” the

Company must disclose the line item projections for the financial metrics that were used to

calculate the non-GAAP measures, including Unlevered Free Cash Flow.

       27.     Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction.   Specifically, the above information would provide shareholders with a better

understanding of the analyses performed by the Company’s financial advisor in support of its

opinion.




1
  See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-
financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.
2
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017), available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


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                     Material False and Misleading Statements or Material
             Misrepresentations or Omissions Regarding Canaccord’s Financial Opinion

       28.     The Proxy Statement contains the financial analyses and opinion of Canaccord

Genuity LLC (“Canaccord”) concerning the Proposed Transaction, but fails to provide material

information concerning such.

       29.     The Proxy Statement discloses that in connection with its fairness opinion,

Canaccord was provided and “reviewed certain projected cash and other estimates and data” of

Obalon by the Company’s management. Despite the materiality of these projections provided by

management, the Proxy Statement omits these projections in their entirety. The Omitted

Projections must be disclosed so that shareholders can make a fully informed decision when

voting on the Proposed Transaction.

       30.     With respect to Canaccord’s Obalon Publicly Traded Comparable Companies

Analysis, the Proxy Statement fails to disclose the individual multiples and metrics for each of

the companies observed in the analysis.

       31.     With respect to Canaccord’s ReShape Discounted Cash Flow Analysis, the Proxy

Statement fails to disclose: (i) the inputs and assumptions underlying Canaccord’s selection of

the terminal perpetual growth rate ranging from 1.0% to 4.0%; and (ii) the components

underlying the weighted average cost of capital of the publicly traded companies, used by

Canaccord to derive the discount rate ranging from 18.6% to 20.6%.

       32.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides shareholders with

a basis to project the future financial performance of a company and allows shareholders to



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better understand the financial analyses performed by the Company’s financial advisor in support

of its fairness opinion.

          33.   Without the above-described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                              COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

          34.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          35.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          36.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.



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       37.     Defendants have issued the Proxy Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement, which fails to provide critical information

regarding, among other things, the financial projections for the Company.

       38.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such information

to shareholders although they could have done so without extraordinary effort.

       39.     The Defendants knew or were negligent in not knowing that the Proxy Statement

is materially misleading and omits material facts that are necessary to render it not misleading.

The Defendants undoubtedly reviewed and relied upon the omitted information identified above

in connection with their decision to approve and recommend the Proposed Transaction.

       40.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Proxy Statement, rendering the sections

of the Proxy Statement identified above to be materially incomplete and misleading. Indeed, the

Defendants were required to be particularly attentive to the procedures followed in preparing the

Proxy Statement and review it carefully before it was disseminated, to corroborate that there are

no material misstatements or omissions.

       41.     The Defendants were, at the very least, negligent in preparing and reviewing the

Proxy Statement. The preparation of a Proxy Statement by corporate insiders containing




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materially false or misleading statements or omitting a material fact constitutes negligence. The

Defendants were negligent in choosing to omit material information from the Proxy Statement or

failing to notice the material omissions in the Proxy Statement upon reviewing it, which they

were required to do carefully as the Company’s directors. Indeed, the Defendants were

intricately involved in the process leading up to the signing of the Merger Agreement and the

preparation of the Company’s financial projections.

          42.   The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.

          43.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          44.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          45.   The Individual Defendants acted as controlling persons of Obalon within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Obalon, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that Plaintiff contends are materially



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incomplete and misleading.

       46.     Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       47.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy Statement at issue contains the

unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

       48.     In addition, as set forth in the Proxy Statement sets forth at length and described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Proxy Statement purports to describe the various issues and information

that the Individual Defendants reviewed and considered. The Individual Defendants participated

in drafting and/or gave their input on the content of those descriptions.

       49.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       50.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.




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       51.      Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.       Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.       Directing the Individual Defendants to disseminate an Amendment to the Proxy

Statement that does not contain any untrue statements of material fact and that states all material

facts required in it or necessary to make the statements contained therein not misleading;

       C.       Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.       Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.       Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: April 19, 2021                                          Respectfully submitted,

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